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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
www.fisb.uscourts.gov

In re: Case No. /¥~ L Gf
Chapter 7

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Debtor /
DECLARATION REGARDING PAYMENT ADVICES
Debtor:

Copies of all payment advices, pay stubs or other evidence of payment received by the
debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
and all received and provide explanation that you didn’t work the full 60 days.

)

Copies of all payment advices are not attached because the debtor had no income from
any employer during the 60 days prior to filing the bankruptcy petition.

Copies of all payment advices are not attached because the debtor:
receives disability payments
is unemployed and does not receive unemployment compensation
___Teceives Social Security payments
___Teceives a pension
___does not work outside the home
___is self employed and does not receive payment advices

None of the statements above apply, however, the debtor is unable to timely provide
some or all copies of payment advices or other evidence of payment received
Explain:

 

Joint Debtor (if applicable):

Copies of payment advices, pay stubs or other evidence of payment received by the joint
debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
and all received and provide explanation that you didn’t work the full 60 days.

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Copies of payment advices are not attached because the joint debtor had no income from
any employer during the 60 days prior to filing the bankruptcy petition.

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Copies of payment advices are not attached because the joint debtor:
___receives disability payments

____is unemployed and does not receive unemployment compensation
___receives Social Security payments

___Teceives a pension

____does not work outside the home

___is self employed and does not receive payment advices

None of the statements above apply, however, the joint debtor is unable to timely
provide some or all copies of payment advices or other evidence of payment received
Explain:

 

NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices,
it is your responsibility to redact (blackout) any social security numbers, names of minor
children, dates of birth or financial account numbers before attaching for filing with the

court. Local Rule 5005-1(A)(2).
- Date: CY AY) / Mk

Signature ofAtterfiey or Debtor

 

Date:

 

Signature of Joint Debtor, if applicable

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